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8                           UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
9

10
     MICHAEL SCAVO, individually and on            ) Case No. 2:17-cv-03899-GEKP
     behalf of all others similarly situated,      )
11                                                 ) JOINT REQUEST TO DISMISS WITH
     Plaintiff,                                    ) PREJUDICE
12
                                                   )
13           vs.                                   )
                                                   )
14   ACCOUNT DISCOVERY SYSTEMS, LLC, )
     and DOES 1 through 10, inclusive, and each of )
15
     them,                                         )
16                                                 )
     Defendant.                                    )
17   ________________________________              )
18

19          NOW COME THE PARTIES by and through their attorneys to respectfully move this

20   Honorable Court to dismiss with prejudice this matter entirely, with prejudice as to Plaintiff’s
21
     claims and without prejudice as to the putative class claims, pursuant to Federal Rules of Civil
22
     Procedure 41(a)(1)(A)(ii). Each party shall bear their own costs and expenses. A proposed
23
     order has been concurrently submitted to this Court via email.
24

25                         Respectfully submitted this 31st Day of October, 2017

26                                        By: s/ Cynthia Z. Levin, Esq.
27
                                                  Cynthia Z. Levin
                                                  Attorney for Plaintiff
28




                                           Stipulation to Dismiss- 1
     Case 2:17-cv-03899-GEKP Document 9 Filed 10/31/17 Page 2 of 3




                             By: s/Brendan H. Little, Esq.
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                                 Brendan H. Little
2                                Attorney for Defendant

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                           Stipulation to Dismiss- 2
              Case 2:17-cv-03899-GEKP Document 9 Filed 10/31/17 Page 3 of 3




1    Filed electronically on this 31st Day of October, 2017, with:
2
     United States District Court CM/ECF system
3
     Notification sent electronically via the Court’s ECF system to:
4
     Honorable Gene E.K. Pratter
5
     United States District Court
6    Eastern District of Pennsylvania

7    And all Counsel of Record on the electronic service list.
8

9
     This 31st Day of October, 2017.
10
     s/Cynthia Z. Levin
11   Cynthia Z. Levin
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                                            Stipulation to Dismiss- 3
